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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                             18     In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             19     PG&E CORPORATION,                         NOTICE OF HEARING ON APPLICATION
                                                                              PURSUANT TO 11 U.S.C. § 327(e) AND FED. R.
                             20              - and -                          BANKR. P. 2014(a) AND 2016 FOR ORDER
                             21     PACIFIC GAS AND ELECTRIC                  AUTHORIZING THE DEBTORS TO RETAIN
                                    COMPANY,                                  COBLENTZ PATCH DUFFY & BASS LLP AS
                             22                                               SPECIAL COUNSEL NUNC PRO TUNC TO THE
                                                                   Debtors.   PETITION DATE
                             23
                                     Affects PG&E Corporation
                             24      Affects Pacific Gas and Electric        Date: July 9, 2019
                                    Company                                   Time: 9:30 a.m. (Pacific Time)
                             25      Affects both Debtors                    Place: United States Bankruptcy Court
                                                                                     Courtroom 17, 16th Floor
                             26     * All papers shall be filed in the Lead          San Francisco, CA 94102
                                    Case, No. 19-30088 (DM).
                             27                                               Objection Deadline: July 2, 2019
                                                                                                  4:00 p.m. (Pacific Time)
                             28



                              Case: 19-30088           Doc# 2598   Filed: 06/18/19   Entered: 06/18/19 18:37:01    Page 1 of
                                                                               2
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5           PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     July 9, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 7
            PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
 8
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Application Pursuant to 11
 9   U.S.C. § 327(e) and Fed. R. Bankr. P. 2014(a) and 2016 for Order Authorizing the Debtors to Retain
     Coblentz Patch Duffy & Bass LLP as Special Counsel Nunc Pro Tunc to the Petition Date filed by
10   the Debtors on June 18, 2019 [Dkt. No. 2595] (the “Application”).
11           PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Application
     must be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
12
     above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on July 2,
13   2019. Any oppositions or responses must be filed and served on all “Standard Parties” as defined in,
     and in accordance with, the Second Amended Order Implementing Certain Notice and Case
14   Management Procedures entered on May 14, 2019 [Dkt No. 1996] (the “Case Management
     Order”). Any relief requested in the Application may be granted without a hearing if no
15   opposition is timely filed and served in accordance with the Case Management Order. In
16   deciding the Application, the Court may consider any other document filed in these Chapter 11 Cases
     and related Adversary Proceedings.
17
             PLEASE TAKE FURTHER NOTICE that copies of the Application and its supporting
18   papers can be viewed and/or obtained: (i) by accessing the Court’s website at
     http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
19   Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
     Clerk LLC , at https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
20
     U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:
21   pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents on the
     Bankruptcy Court’s website.
22
     Dated: June 18, 2019
23                                           WEIL, GOTSHAL & MANGES LLP
                                             KELLER & BENVENUTTI LLP
24
                                              /s/ Thomas B. Rupp
25                                            Thomas B. Rupp

26                                            Attorneys for Debtors and Debtors in Possession
27

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